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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

Misc No.1: 21-mc-00194-KPF
BREAKING MEDIA INC.
dba ABOVE THE LAW, Associated Case: 1:18-cv-00444
(W.D.TX)
Petitioner,
-against- AFFIDAVIT OF ROBERT TAULER
IN SUPPORT OF MOTION FOR
EVAN P. JOWERS, ADMISSION PRO HAC VICE
Respondent.
Re: Subpoena Issued in,
MWK Recruting, Inc. v.
Evan P. Jowers, et al
U.S. District Court
Western District of Texas
I, Robert Tauler, hereby swear as follows:
1. I am a member in good standing of the bar of the state of Texas.
2. I have never been convicted of a felony.
3. I have never been censured, suspended, disbarred, or denied admission or
readmission by any court.
4. There are no disciplinary proceedings presently against me.

I declare under penalty of perjury under the laws of the United States and the laws
of the State of New York that the foregoing is true and correct. Executed this 11th day of

March, 2021, at Los Angeles, California.

 

Robert Tauler, Es€——__
 

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ACKNOWLEDGMENT

 

A notary public or other officer completing this
certificate verifies only the identity of the
individual who signed the document to which this
certificate is attached, and not the truthfulness,
accuracy, or validity of that document.

 

 

 

State of California

County of Los Angeles

On 03/11/2021 before me, Betsy M. Tauler,

A Notary Public personally appeared Robert Tauler

 

 

who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s)
is/are subscribed to the within instrument and acknowledged to me that he/she/they executed
the same in his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the
instrument the person(s), or the entity upon behalf of which the person(s) acted, executed the
instrument.

| certify under PENALTY OF PERJURY under the laws of the State of California that the
foregoing paragraph is true and correct.

   

  

BETSY M. TAULER
3 COMM.#2189038
& Nag NOTARY PUBLIC @CALIFORNIA &
Sg] LOSANGELES COUNTY
au” Comm. Exp. MARCH 31, 2021

            
     

WITNESS my hand and official seal.

LO

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Signature | ( Wu

 

  

(Seal)

 

 
